     Case 8:18-cr-00046-JLS Document 351 Filed 12/04/23 Page 1 of 30 Page ID #:4819


 1 WIECHERT, MUNK & GOLDSTEIN, PC
   DAVID WIECHERT (Cal. Bar No. 94607)
 2 JESSICA C. MUNK (Cal. Bar No. 238832)
   4000 MacArthur Blvd., Suite 600 East Tower
 3 Newport Beach, CA 92660
   Telephone: (949) 361-2822
 4 Email: dwiechert@aol.com
   Email: jessica@wmgattorneys.com
 5
   Attorneys for Defendant
 6
   Johnny Paul Tourino
 7
 8                       IN THE UNITED STATES DISTRICT COURT
 9                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                   Case No. 18-CR-00046-JLS
11                                               Honorable Josephine L. Staton
12         Plaintiff,
                                                 DEFENDANT JOHNNY PAUL
13   v.                                          TOURINO’S SUPPLEMENT IN
14                                               SUPPORT OF HIS SENTENCING
     JOHNNY PAUL TOURINO,                        POSITION; DECLARATION OF
15                                               JESSICA C. MUNK; EXHIBITS FF-II
16         Defendant.
                                                 Sentencing Date: December 8, 2023 at 9:30
17                                               a.m.
18
19
20
21          Defendant, Johnny Paul Tourino (“Mr. Tourino”), by and through counsel, Jessica

22 C. Munk, in response to the Government’s Response to Defendant’s Sentencing Position
23 hereby files the following for consideration at his sentencing hearing.
24         In response to the government’s newly raised argument that the Bureau of Prisons

25 can adequately treat Mr. Tourino’s medical conditions, the defense respectfully requests
26 that the Court consider the following articles:
27         1. Walter Pavlo, Federal Bureau of Prisons’ Medical Care Falls Short of Its Own

28 Policy, Forbes (Apr. 19, 2022) attached to the Declaration of Jessica C. Munk (“Munk
30 Decl.”) as Exhibit FF and available at
                                                1
31
                 DEFENDANT TOURINO’S SUPPLEMENT TO SENTENCING POSITION
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     Case 8:18-cr-00046-JLS Document 351 Filed 12/04/23 Page 2 of 30 Page ID #:4820


 1
     https://www.forbes.com/sites/walterpavlo/2022/04/19/federal-bureau-of-prisons-medical-
 2
     care-falls-short-of-its-own-policy/?sh=290d776c5eab (last visited December 4, 2023).
 3
     This article addresses the Department of Justice Office of the Inspector General’s (“OIG”)
 4
     scathing report issued in March of 2022 on three BOP contracts awarded to the University
 5
     of Massachusetts Medical School. The OIG report found that “BOP faced challenges in
 6
     transporting inmates to off-site appointments which resulted in a frequent need to
 7
     reschedule appointments that could delay an inmates healthcare.” Id. at p. 4. The OIG also
 8
     found that “BOP did not have systems in place to track and monitor the causes for
 9
     rescheduling appointments, including whether the reason for a cancellation was a BOP
10
     issue or one that was out of its control, such as the physician cancelling the appointment.”
11
     Id. Further, given the lack of monitoring appointments and cancellations, the OIG found
12
     “we believe it is difficult for the BOP to determine whether inmates are receiving care
13
     within the required community standard.” Id. In addition, one federal prison with over
14
     1,500 inmates was “without a pharmacist for most of 2022” and OIG was informed the
15
     prison has “many diabetics, hypertensives, cardiomyopathy and HIV inmates that have
16
     run out of medications and have no way of refilling them.” Id. at p. 5. OIG was notified
17
     that the federal prison currently has “OVER 750 unfilled prescriptions.” Id. The report
18
     addressed medical staff shortages and the Union President at FCI Mendota (California) in
19
     an interview said “I know our facility definitely does not meet [the Primary Care Provider
20
     Team (“PCPT”)] criteria. We have over 1,300 inmates and we would not pass that type of
21
     inspection….” Id. at p. 6.
22
           2. Keri Blakinger, Prisons Have a Healthcare Issue – And It Starts at the Top,
23
     Critics Say, The Marshall Project (Jul. 1, 2021) attached to the Munk Decl. as Exhibit GG
24
     and available at https://www.themarshallproject.org/2021/07/01/prisons-have-a-health-
25
     care-issue-and-it-starts-at-the-top-critics-say (last visited December 4, 2023). This article
26
     highlights that those overseeing the healthcare and safety of the Federal Bureau of Prisons
27
     during the Coronavirus Pandemic had no healthcare experience or formal medical
28
     education. Id. at p. 2. It highlights that as of July of 2021, 50,000 federal prisoners had
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                                                    2
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                 DEFENDANT TOURINO’S SUPPLEMENT TO SENTENCING POSITION
32
     Case 8:18-cr-00046-JLS Document 351 Filed 12/04/23 Page 3 of 30 Page ID #:4821


 1
     tested positive for COVID-19 and at least 258 had died. Id. One federal prisoner told the
 2
     Marshall Project that when she was in prison she was dealing with an untreated hernia in
 3
     her chest and was taken off of necessary, including her blood pressure pills and
 4
     antidepressants. She reported, “I feel like we have medical staff that does not know how
 5
     to do their job correctly.” Id. at 4.
 6
            3. Sarah N. Lynch, Watchdog chastises federal prison in California for its
 7
     handling of COVID-19, Reuters (Jul. 23, 2020) attached to Munk Decl. as Exhibit HH and
 8
     available at https://www.reuters.com/article/us-health-coronavirus-usa-prisons-
 9
     idUSKCN24O29U/ (last visited December 4, 2023). The Department of Justice’s
10
     Inspector General Michael Horowitz found that “[a] shortage of medical supplies and
11
     flaws in the healthcare screening processes contributed to a COVID-19 outbreak at a
12
     federal prison in California that sickened more than 1,000 inmates and 23 prison staff.” Id.
13
     at p. 1. The report found that Federal Correctional Complex Lompoc in Santa Barbara had
14
     staff “who had tested positive for the novel coronavirus still went to work, and the prison
15
     was slow to release inmates into home confinement.” Id.
16
            4. Jennifer Valentino-DeVries and Allie Pitchon, As the Pandemic Swept America,
17
     Deaths in Prisons Rose Nearly 50 Percent, The New York Times (Feb. 19, 2023) attached
18
     to the Munk Decl. as Exhibit II and available at
19
     https://www.nytimes.com/2023/02/19/us/covid-prison-deaths.html (last visited December
20
     4, 2023). This article reports that “Deaths in state and federal prisons across America rose
21
     nearly 50 percent during the first year of the pandemic … according to the first
22
     comprehensive data on prison fatalities in the era of Covid-19.” Id. at p. 1. The New York
23
     Times’ examination of the data “underscored how quickly the virus rampaged through
24
     crowded facilities, and how an aging inmate population, a correctional staffing
25
     shortage and ill-equipped medical personnel combined to make prisoners especially
26
     vulnerable during the worst public health crisis in a century.” Id. (emphasis added). The
27
     article also reported that the “aging, and often ailing, prison population was especially at
28
     risk when the pandemic hit, the data review showed, not only because the virus raged
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                  DEFENDANT TOURINO’S SUPPLEMENT TO SENTENCING POSITION
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     Case 8:18-cr-00046-JLS Document 351 Filed 12/04/23 Page 4 of 30 Page ID #:4822


 1
     unchecked but because medical care for other illnesses could be slow or inadequate.” Id.
 2
     at p. 4 (emphasis added). Further, it noted that “[c]urrent and former inmates interviewed
 3
     by The Times, as well as advocacy groups, said poor health care was a major factor in
 4
     prison deaths.” Id. at p. 5.
 5
 6
     DATED: December 4, 2023               Respectfully submitted:
 7
 8                                         WIECHERT, MUNK & GOLDSTEIN, PC
 9
10                                   By:   s/ Jessica C. Munk
                                           Jessica C. Munk
11                                         Attorney for Defendant
12                                         Johnny Paul Tourino

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                  DEFENDANT TOURINO’S SUPPLEMENT TO SENTENCING POSITION
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     Case 8:18-cr-00046-JLS Document 351 Filed 12/04/23 Page 5 of 30 Page ID #:4823



 1
                             DECLARATION OF JESSICA C. MUNK
 2
           I, Jessica C. Munk, declare as follow:
 3
           1. I am a principal at Wiechert, Munk & Goldstein, PC, and counsel of record for
 4
     Defendant Johnny Paul Tourino. I am licensed to practice in the State of California and in
 5
     the United States District Court for the Central District of California. I have personal
 6
     knowledge of the following and, if called to do so, I could competently testify thereto.
 7
           2. This declaration is filed in support of Defendant Johnny Paul Tourino’s
 8
     Supplement In Support of His Sentencing Position.
 9
           3. Attached hereto as Exhibit FF is a true and correct copy of a Forbes article,
10
     Federal Bureau of Prisons’ Medical Care Falls Short of Its Own Policy, available at
11
     https://www.forbes.com/sites/walterpavlo/2022/04/19/federal-bureau-of-prisons-medical-
12
     care-falls-short-of-its-own-policy/?sh=290d776c5eab.
13
           4. Attached hereto as Exhibit GG is a true and correct copy of an article from The
14
     Marshall Project, Prisons Have a Healthcare Issue – And It Starts at the Top, Critics Say,
15
     available at https://www.themarshallproject.org/2021/07/01/prisons-have-a-health-care-
16
     issue-and-it-starts-at-the-top-critics-say.
17
           5. Attached hereto as Exhibit HH is a true and correct copy of a Reuters article,
18
     Watchdog chastises federal prison in California for its handling of COVID-19, available
19
     at https://www.reuters.com/article/us-health-coronavirus-usa-prisons-idUSKCN24O29U/.
20
           6. Attached hereto as Exhibit II is a true and correct copy of an article from The
21
     New York Times, As the Pandemic Swept America, Deaths in Prisons Rose Nearly 50
22
     Percent, available at https://www.nytimes.com/2023/02/19/us/covid-prison-deaths.html.
23
           I declare under the penalty of perjury that the foregoing is true and correct.
24
     Executed this 4 day of December, 2023 in Newport Beach, California.
25
26                                                  s/ Jessica C. Munk
27                                                  Jessica C. Munk
28
30                                                  1
31                            DECLARATION OF JESSICA C. MUNK
Case 8:18-cr-00046-JLS Document 351 Filed 12/04/23 Page 6 of 30 Page ID #:4824




                     EXHIBIT FF
Case 8:18-cr-00046-JLS Document 351 Filed 12/04/23 Page 7 of 30 Page ID #:4825




  FORBES     MONEY    PERSONAL FINANCE




  Federal Bureau Of Prisons’
  Medical Care Falls Short Of
  Its Own Policy
  Walter Pavlo Contributor
  I write and consult on federal criminal law and                                  Follow
  criminal justice.


                0                                                    Apr 19, 2022, 11:41am EDT


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    account.

    Got it




  At some Bureau of Prison facilities, inmate prescriptions are not being filled because of a
  lack of ... [+] GETTY IMAGES
Case 8:18-cr-00046-JLS Document 351 Filed 12/04/23 Page 8 of 30 Page ID #:4826
  The Federal Bureau of Prisons (BOP) has numerous policies and
  program statements, all meant to set a standard for operations in
  an agency responsible for the care of 160,000 prisoners. Among
  them is a program statement for medical care of prisoners entitled
  Patient Care. The overall goal of the program is stated as being,
  “Health care will be delivered to inmates in accordance with
  proven standards of care without compromising public safety
  concerns inherent to the agency’s overall mission.” However, those
  standards are being compromised as a result of staffing shortages
  that the agency has faced for years now.

  The BOP’s prisoner population peaked at over 215,000 around the
  same time that the BOP updated its Patient Care Program in June
  2014. Today, there are 155,000 prisoners, 60,000 fewer than in
  2014, yet the BOP’s budget has increased over the same period of
  time. One cost driver is healthcare of prisoners.

  When the BOP updated its Patient Care program statement, it had
  one lofty goal of creating something called Primary Care Provider
  Team (PCPT). According to the statement, a PCPT is a core group of
  health care providers and support staff whose function is to provide
  direct patient care. It was designed to improve health care services
  by “enhancing continuity of care and promoting preventive health
  care measures.” The BOP believed that it would function in the
  same manner as a medical office in a community setting, only it
  would be inside a prison. On paper, every inmate would be assigned
  to a medical team of health care providers and support staff who
  are responsible for managing the inmate’s health care needs. The
  statement went on with a lofty prediction that PCPT, “...when fully
  implemented, “sick call” will be eliminated.” Presumably this would
  be the case because a group of medical professionals would
  proactively manage and treat prisoners. Fast forward to the reality
Case 8:18-cr-00046-JLS Document 351 Filed 12/04/23 Page 9 of 30 Page ID #:4827
  of today, nearly 8 years after PCPT, the BOP is struggling to care for
  prisoners in its care.

  Be assured, “sick call” is still very much part of medical care inside
  of federal prisons where prisoners stand in line asking for medical
  attention for anything from fever, to chest pain, to aching limbs
  from an injury. Not much has changed. One of the conditions cited
  in the program statement to make the program a success is that
  “Appropriate levels of support staff must be achieved when
  implementing PCPT.” That is a problem in today’s BOP.


  MORE FROM FORBES ADVISOR


  Best Travel Insurance Companies
  By Amy Danise Editor




  Best Covid-19 Travel Insurance Plans
  By Amy Danise Editor




  PCPT guidelines were provided for each institution so that for a day
  shift PCPT staffing pattern for 1,000 general population inmates
  will have; 1 physician, 3 mid-level practitioners, 1 registered nurse,
  1 or 2 licensed practical nurses and/or medical assistants, 2 health
  information technicians, and a medical clerical staff person. On
  paper, it is a team of professionals all assigned to take care of a
  contingent of prisoners.


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Case 8:18-cr-00046-JLS Document 351 Filed 12/04/23 Page 10 of 30 Page ID #:4828
   In March 2022, the Department of Justice Office of the Inspector
   General (OIG) issued a report on audits of three BOP contracts
   awarded to the University of Massachusetts Medical School
   (UMass) between 2012 and 2014 to provide comprehensive medical
   services at a few of its medical centers. The contracts totaled more
   than $304 million. Beyond the cited shortfalls in care noted by OIG,
   the report also provided insight into challenges facing the BOP’s
   medical care of prisoners. The report’s conclusions were:


   “Although the BOP told us that it did not identify any significant
   problems with UMass’s performance related to the timely delivery
   of inmate healthcare and quality of care, we found that BOP did
   not have a reliable, consistent process in place to evaluate either
   the timeliness of inmate healthcare or the quality of that care.”

   “Further, we found that the BOP faced challenges in transporting
   inmates to off-site appointments which resulted in a frequent need
   to reschedule appointments that could delay an inmate’s
   healthcare. In addition, the BOP did not have systems in place to
   track and monitor the causes for rescheduling appointments,
   including whether the reason for a cancellation was a BOP issue
   or one that was out of its control, such as the physician cancelling
   the appointment.

   “BOP also did not have a process in place to monitor how long an
   inmate waited to receive care after a cancelled appointment.
   Because the BOP did not have systems to measure or track any of
   these issues, we believe it is difficult for the BOP to determine
   whether inmates are receiving care within the required
   community standard.”

   A report by OIG is one thing, but how is it playing out on the front
   lines of providing care in prisons?
Case 8:18-cr-00046-JLS Document 351 Filed 12/04/23 Page 11 of 30 Page ID #:4829
   A senior medical person at an institution (name and institution
   withheld) frustrated with the lack of action by the Warden, sent
   OIG an account of what is happening at one federal prison with
   over 1,500 inmates. One institution has been without a pharmacist
   for most of 2022 due to being out on medical leave. The result
   according to the submission to OIG is that “We now have several
   psychiatric patients decompensating daily. We also have many
   diabetics, hypertensives, cardiomyopathy and HIV inmates that
   have run out of medications and have no way of refilling them
   until they, as well as emergent issues, or are lucky enough to
   communicate the need to executive staff, or custody staff who
   communicate it to Medical. We repeatedly are responding to
   attorney, and family member inquiries about inmates who have
   not received medication. This, of course takes time away from
   patient care for the TWO BOP staff members who can resolve the
   issues, myself and the Nurse Practitioner. ... There are currently
   OVER 750 unfilled prescriptions.”

   I spoke with Charles Jones, Union President of AGFE Local 4036,
   who works at FCI Marianna in Florida, “The BOP till hasn't
   implemented PCPT teams as outlined in policy at Marianna or
   anywhere from my understanding. This was suppose to be used to
   give inmates an experience similar to outside world.”

   Jones told me that the same issues faced in 2014 have been
   exacerbated today. “Currently we are still down positions in
   medical and this doesn't include the additional positions of 1 nurse
   and 1 doctor position that we have still not gained back from the
   2016 staffing cuts. We had several medical staff leave once hired
   due to the lack of staff in the department and the expectation for
   those staff to do all the work all while being questioned about
   overtime. Those shortages put a lot of normal heath procedures
   for inmates on backlog. This has caused significant issues of
Case 8:18-cr-00046-JLS Document 351 Filed 12/04/23 Page 12 of 30 Page ID #:4830
   scheduling many outside medical trips each day which is carried
   out by correctional services.” Jones’ observations are similar to the
   findings of OIG’s reports regarding cancelled appointments.

   Aaron Mcglothin, Union President at FCI Mendota (California) said
   in an interview about whether his facility could pass PCPT, “I know
   our facility definitely does not meet that criteria. We have over
   1,300 inmates and we would not pass that type of inspection but
   then again the only inspections that happen at our facilities are by
   agency representatives who cover for management.”

   The staff member at one institution who submitted the plea for help
   to OIG ended with this ominous note [all CAPS were part of the
   original submission], “THIS IS UNACCEPTABLE, DANGEROUS.
   Literally a powder keg awaiting an explosion.”
   Follow me on Twitter or LinkedIn. Check out my website or some
   of my other work here.

            Walter Pavlo                                                Follow


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   professionals, to work with defendants and... Read More

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                    EXHIBIT GG
  Case 8:18-cr-00046-JLS Document 351 Filed 12/04/23 Page 14 of 30 Page ID #:4832

07.01.2021
INSIDE OUT




Prisons Have a Health
Care Issue — And It
Starts at the Top,
Critics Say
When coronavirus hit federal prisons, the top officials had no
health care experience.




By KERI BLAKINGER
  Case 8:18-cr-00046-JLS Document 351 Filed 12/04/23 Page 15 of 30 Page ID #:4833

When the coronavirus hit the Federal Bureau of Prisons last year, the senior official responsible for
overseeing health care and safety in all of the more than 120 lockups was Nicole English, a career
corrections officer with a graduate degree in public administration — and no hands-on health care
experience. When she switched roles at the height of the pandemic, her replacement, Michael
Smith, also had no formal medical education.

This article was        “I would seriously question his understanding of science, but he was a nice
published in            guy,” said Bill Axford, union president at the medical prison in Rochester,
partnership with NBC
                        Minnesota, where Smith previously worked as the associate warden.
News.
Axford said that when he raised concerns that radon, an odorless radioactive gas that can cause
lung cancer, could pose a danger to parts of the prison, Smith initially dismissed the potential
threat. “He would say things like, ‘Radon’s not real,’” Axford said. Axford said that after he
forwarded Smith an email from an expert on the dangers of radon, Smith agreed to take the threat
seriously. On another occasion, Axford said, Smith said he believed sunscreen, not the sun, caused
skin cancer.

Another union official, who declined to be named out of fear of retribution, affirmed Axford’s
account.

Union leaders, prison health care workers and advocates for prisoners’ rights said it was troubling
that the people leading the federal prison system’s Health Services Division during the COVID-19
crisis lacked medical licenses. Nearly 50,000 federal prisoners tested positive for COVID-19 as of
last week, and at least 258 have died. The Bureau of Prisons came under fire last year from
politicians and union leaders for pressuring guards to come to work sick, failing to follow its own
pandemic plan and buying knock-off N-95 masks.

“This is why our agency is broken,” said Joe Rojas, a union leader who works at the Coleman prison
complex in Florida. “You have people who are unqualified and you have a medical pandemic, but
the leadership has zero medical background.”

Neither Smith nor English commented. Agency spokeswoman Randilee Giamusso defended the
Bureau of Prisons’ response to the coronavirus as “swift and effective,” but wouldn’t comment on
Smith or English’s qualifications beyond sharing their publicly listed biographies.

Instead, she wrote in an email that in their roles as assistant directors in charge of the Health
Services Division, English and Smith oversaw “an array of highly qualified subject-matter experts”
  Case 8:18-cr-00046-JLS Document 351 Filed 12/04/23 Page 16 of 30 Page ID #:4834

who can help set policies and make decisions. Those include the agency’s medical director, who is
“the final health care authority for the Bureau,” Giamusso said.

But as some critics noted, the head of the Health Services Division is the one who signs some of the
most important medical policies and standards, including COVID-19 protocols and home
confinement guidance.

Concerns over medical care and the qualifications of those responsible for it — from
administrative leaders to staff members who treat patients — are not unique to the federal system.
From California to Alabama, news reports and public records show that prisons routinely hire
underqualified and even disgraced medical staff.

The nonprofit National Commission on Correctional Health Care has urged since 1999 that jail and
prison medical staff members have the same credentials as those who work outside, in settings like
hospitals. But states often allow medical staffers in correctional facilities to work under licenses
that are restricted because of past disciplinary issues — and critics say it’s part of the reason
prisons were so ill-equipped to combat the coronavirus.

“To people who are inside, it’s not always clear what the credentials are of the person who is
treating them,” said Andrea Armstrong, a law professor at Loyola University New Orleans who has
studied prison medical care. “They have a general sense that they are getting the people who can’t
get jobs anywhere else.”

Outside of prison, most patients can avoid bad doctors by doing some research and picking
another physician — but people behind bars cannot.

When I was locked up in New York a decade ago, our vetting process came down to rumors and
fear. “Don’t go to that doctor — he gropes people,” one of my friends warned me. “That nurse only
gives you medication if she likes you,” said another. There were stories about women who had the
wrong teeth removed or got the wrong medication, or one lady who was so constipated she
supposedly went septic and died. We usually didn’t know if the rumors were true, but we knew
they could be — and we made our health care decisions accordingly.

Sometimes, that meant we refused medical care or just didn’t seek it out. During the pandemic,
prisoners from New York to Texas to California told me they hid signs of illness or refused
treatment because they didn’t trust prison officials or medical staff. That suspicion is one reason
some incarcerated people are still reluctant to get vaccinated, The Marshall Project reported. A
  Case 8:18-cr-00046-JLS Document 351 Filed 12/04/23 Page 17 of 30 Page ID #:4835

little over 46% of U.S. prisoners have gotten at least one shot, compared to more than 66% of the
adults in the overall population.

“I actually refused the shot for being very fearful of getting it here,” a federal prisoner told me in
June. She asked to be identified only by her first name — Jenny — for fear of retaliation, and said
that during her time behind bars she’s been dealing with an untreated hernia in her chest and has
been taken off medication that seemed necessary, including blood pressure pills and
antidepressants. “I feel like we have medical staff that does not know how to do their job correctly.”

Eventually, Jenny agreed to get vaccinated only because she read about judges who’d denied
compassionate release to some prisoners who refused shots.

Armstrong, the law professor, said states often allow medical professionals who are barred from
working in hospitals and private practices to work in institutional settings like prisons.

Recently, a BuzzFeed News investigation found 10 of the 12 doctors in Louisiana prisons —
including six medical directors — had a history of license restrictions or suspensions due to
everything from fraud to child pornography convictions. The report came weeks after a federal
judge said the medical care in the state’s biggest prison was constitutionally inadequate. A prison
spokesman did not respond to a request for comment, but previously told BuzzFeed that the hiring
practices met state medical board standards.

In Georgia, the state paid over $3 million to settle lawsuits involving two doctors, including one —
Dr. Yvon Nazaire — who was hired as a medical director while still on probation in another state.
Once he moved to Georgia, he was accused of mishandling medical treatment of nine women who
died, and one woman who ended up in a vegetative state after Nazaire and other prison officials
ignored her medical distress and accused her of faking her symptoms, her family alleged in a
lawsuit. He did not respond to requests for comment this week, but The Atlanta Journal-
Constitution previously reported that Nazaire was fired in 2015 and let his medical license expire
before the state could sanction him. At the time, the paper also reported that he has defended the
quality of his care. A Georgia prison spokesperson referred questions to a contractor that handles
medical staffing, which did not respond to a request for comment.

Investigations and court records show a history of similarly troubling hiring decisions at prisons in
California, Florida, Illinois, Kansas, Mississippi, Oklahoma and Texas. Some states said they vetted
doctors on a case-by-case basis, and that they provide adequate care, according to the Associated
Press and The Appeal. A few states said that they couldn’t find enough doctors otherwise, or that
  Case 8:18-cr-00046-JLS Document 351 Filed 12/04/23 Page 18 of 30 Page ID #:4836

they couldn’t compete with private practice salaries, according to The Oklahoman and Prison
Legal News.

Union leaders have blamed the federal prison system’s poor handling of the pandemic on higher-
ups who lack medical expertise — such as the assistant director overseeing the Health Services
Division.

For 19 years, that position was held by a doctor specializing in infectious disease. By 2016, a
psychologist took over the role, and three years later English got the job. She had previously worked
as a guard, a case manager and a warden.

A year later, Smith took over the job. Previously, he’d attended Pikes Peak Community College in
Colorado, spent six years in the Army and worked his way up the prison system from correctional
officer to warden at a federal medical prison.

Some corrections workers — including Aaron McGlothin, the union president at Mendota federal
prison in California — said the agency’s handling of the pandemic is proof of the need for more
medical expertise among the system’s executives.

“They spent $3 million buying UV portals,” McGlothin added. “They said these killed the
coronavirus — but they weren’t FDA-approved.”

That was something he considered when he declined to get vaccinated at work and instead waited
several weeks to get the shot on his own.

“I don’t trust the agency,” he said of the Bureau of Prisons. “I’m not putting my health and safety in
the hands of the BOP.”
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                    EXHIBIT HH
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Watchdog chastises federal prison in California for its handling of COVID-19
By Sarah N. Lynch
July 23, 2020 5:30 PM PDT · Updated 3 years ago




WASHINGTON (Reuters) - A shortage of medical supplies and flaws in health screening processes contributed to a COVID-19 outbreak at a federal prison
in California that sickened more than 1,000 inmates and 23 prison staff, the Justice Department's internal watchdog has found.

In a report released on Thursday, Inspector General Michael Horowitz said staff at the Federal Correctional Complex Lompoc in Santa Barbara who had
tested positive for the novel coronavirus still went to work, and the prison was slow to release inmates into home confinement.

"Lompoc’s initial COVID-19 screening process was not fully effective. We identified two staff members who came to work in late March after experiencing
COVID-19 symptoms and whose symptoms were not detected in the screening process," the report says.

"Lompoc staff did not seek to test or isolate an inmate who reported on March 22 that he began having COVID-19 like symptoms 2 days earlier."

A Bureau of Prisons spokesperson said the findings on Lompoc need to be taken in a proper context of what was happening at the time, and noted the
BOP has also since "made a concerted effort to speed up" home confinement releases from Lompoc.



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"The Bureau was following CDC guidelines at that time," BOP spokesman Justin Long said in a statement.                                                    Feedback

"Proactively distributing face coverings, was not a proven, evidence-based strategy at a time when PPE resources were extremely limited across the
country and face coverings were being used as contingency PPE."

The BOP has faced criticism for its slow response to the global pandemic, both from the union that represents its staff and from families of prisoners.



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Union officials have repeatedly accused the BOP of not having enough protective gear, not providing adequate testing and failing to limit the movement
of inmates between facilities to prevent the virus from spreading.

The BOP has also faced scrutiny for changing its rules for determining which non-violent federal inmates could qualify for release into home
confinement.

Horowitz contrasted Lompoc's response to the COVID-19 pandemic with another federal prison - the Federal Correctional Complex in Tucson, Arizona -
which his office found has had far fewer cases of COVID-19.

Reporting by Sarah N. Lynch; Editing by Bernadette Baum and Diane Craft


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As the Pandemic Swept America, Deaths in Prisons Rose Nearly 50
Percent
‌ he first comprehensive data on prison fatalities in the Covid era sheds new light on where and why prisoners were
T
especially vulnerable.

By Jennifer Valentino-DeVries and Allie Pitchon
Feb. 19, 2023


Deaths in state and federal prisons across America rose nearly 50 percent during the first year of the pandemic, and in six
states they more than doubled, according to the first comprehensive data on prison fatalities in the era of Covid-19.

The tremendous jump in deaths in 2020 was more than twice the increase in the United States overall, and even exceeded
estimates of the percentage increase at nursing homes, among the hardest-hit sectors nationwide. In many states, the data
showed, high rates continued in 2021.

While there was ample evidence that prisons were Covid hot spots, an examination of the data by The New York Times
underscored how quickly the virus rampaged through crowded facilities, and how an aging inmate population, a correctional
staffing shortage and ill-equipped medical personnel combined to make prisoners especially vulnerable during the worst
public health crisis in a century.

“There are so many who passed away due to not getting the medical care they needed,” said Teresa Bebeau, whose
imprisoned friend died from complications of Covid and cancer in South Carolina. “Most of these people, they didn’t go in
there with death sentences, but they’re dying.”

Covid infections drove the death totals, but inmates also succumbed to other illnesses, suicide and violence, according to the
data, which was collected by law school researchers at the University of California, Los Angeles, and provides a more
detailed, accurate look at deaths in prison systems during the pandemic than earlier efforts.

Altogether, at least 6,182 people died in American prisons in 2020, compared with 4,240 the previous year, even as the
country’s prison population declined to about 1.3 million from more than 1.4 million.
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  Prisoners’ family members prayed at a rally in Draper, Utah, in 2020. Steve Griffin/The Deseret News, via Associated Press



Several of the states with the highest mortality rates in 2020 had a history of elevated prison deaths, including Alabama,
Arkansas, South Carolina and West Virginia. Researchers said the high numbers — 96 deaths per 10,000 prisoners in West
Virginia, more than in any other state — stemmed from long sentences, harsh conditions and relatively poor public health
overall.

“Clearly the pandemic is the story, but it is just a part of the story,” said Aaron Littman, an assistant professor and the acting
director of the U.C.L.A. Law Behind Bars Data Project.

Chrysti Shain, a spokeswoman for the South Carolina Corrections Department, said a lack of testing early in the pandemic
had contributed to increased infections. “South Carolina has made significant changes in both its medical and mental health
care systems over the past decade” to improve care in prisons, she said. Prison officials in the three other states did not
respond to requests for comment.

Even some states with typically lower death rates saw a surge. Michigan and Nevada both had about 70 fatalities per 10,000
inmates in 2020, up from about 30 the previous year.

In New York, an early epicenter of the pandemic, the rate rose to 32 deaths per 10,000 inmates in 2020, from 25 the year
before, while New Jersey recorded 51 deaths per 10,000, up from 21. Texas, which has the largest prison population in the
country, had 48 deaths per 10,000, up from 28, and California, with the second-highest number of inmates, had 43 per 10,000
in 2020, up from 32.

A handful of states, including Vermont and Wyoming, saw death rates fall, their small prison populations largely spared
when the first waves of the virus struck.
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“If you have a lower population, then it’s less likely that people are going to be hurt or suffer from major life-threatening
issues,” said Nicholas Deml, commissioner of the Vermont Department of Corrections.




  Medical workers administered Covid vaccines to inmates at the Bolivar County Correctional Facility in Cleveland, Miss., in 2021. Spencer Platt/Getty Images



Deaths in the federal prison system rose, but the rate was lower than those in most states.

For years, the Justice Department collected and analyzed data about federal and state prison deaths to help track health and
safety problems. But that stopped in 2019 on the eve of the pandemic because of bureaucratic changes within the
department. Since then, it has published only imprecise counts of fatalities, which often do not match the complete data.

A bipartisan Senate investigation in September found that the department was “failing to effectively implement” a 2013 law
that required data collection. The Government Accountability Office also looked into the matter, and found that the
department’s figures for 2021 had missed at least 340 deaths reported publicly by states.

After that investigation, Maureen Henneberg, deputy assistant attorney general for the Office of Justice Programs, told the
Senate that the department had trouble gathering information because there was “significant underreporting of deaths in
custody” in many states, and that the department “would like to work with Congress to improve the collection of this data.”
The Justice Department did not respond to requests for further comment.

The U.C.L.A. Law project is among various efforts trying to fill that void. Researchers used public records requests and other
means to collect data — which included the tally of deaths, and in many cases, information like the cause of death and the
age of the inmate — from 49 states and the federal government. Data from 2021 is only partially complete, but reports from
28 states that together house about half the country’s prisoners showed death rates above prepandemic levels.
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“It is essential that we as the public know what happens in institutions that incarcerate people in our name,” Mr. Littman
said. “But unfortunately that has never been the case to the appropriate extent, and it has become worse over time.”


Aging Behind Bars
Nationally, the prison population is graying — in part because of inmates who were incarcerated under tough sentencing
laws in the 1980s and 1990s.

In 2009, about 10 percent of all prisoners were 50 or older; by 2019, that number had jumped to 21 percent, according to the
Justice Department. By the time they reach their 50s, prisoners are considered elderly, their expected life spans shortened
by their years behind bars and, in many cases, drug use and poverty.




  An inmate receiving a Covid vaccine in 2021 in the unit for medically vulnerable inmates at the Faribault correctional facility in Minnesota. Aaron Lavinsky/Star
  Tribune, via Associated Press




The aging, and often ailing, prison population was especially at risk when the pandemic hit, the data review showed, not only
because the virus raged unchecked but because medical care for other illnesses could be slow or inadequate. Of the 46
inmates who died in West Virginia in 2020, 42 were older than 50; six were in their 80s.

“We have high rates of depression and suicide, high rates of obesity,” said Lydia Milnes, a lawyer with Mountain State
Justice, a nonprofit in West Virginia. She said the opioid epidemic had plagued many prisoners, whose health continued to
decline even after they were denied access to the drugs.
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Some states have attempted to deal with an aging prison population through compassionate release programs, and others let
out inmates early in 2020 because of Covid concerns. Vermont, for example, cut its number of inmates by 28 percent between
2009 and 2019. But such efforts can be a hard sell because many of the oldest and longest-serving inmates have been
convicted of violent crimes like murder and sexual assault.

In Michigan, where lawmakers have held firm on laws imposing lengthy sentences, nearly 90 percent of the 248 who died in
2020 were 50 or older.

“They have people down there who have Huntington’s, who are mentally ill, bedridden, but they’re still here,” said Yusef
Qualls, who was convicted at age 17 as the driver in a murder case and has been incarcerated in Michigan for 27 years.
“They’re still holding them, you know? It’s kind of hard to see.”

Chris Gautz, a spokesman for the Michigan Corrections Department, said the state’s prisons had pushed to test inmates for
Covid and get them early access to vaccines.

“Michigan has the oldest prisoner population in the country, but that is not because we as a department choose to keep
prisoners longer,” he said, adding that the state legislature had increased the minimum amount of time people must serve
and that courts had sentenced people to longer terms.

Amid a debate in 2021 about reducing sentences for good behavior, Dana Nessel, Michigan’s attorney general, a Democrat,
argued in an opinion piece in the Detroit News that changing the law would undermine efforts to “provide victims and the
community a sense of security and stability.”


A Health Care Crisis
Current and former inmates interviewed by The Times, as well as advocacy groups, said poor health care was a major factor
in prison deaths. They described systems in which prisoners were charged for seeing a doctor, though many of them found it
hard to afford. And when inmates received an appointment, they said, medical staff viewed them with suspicion.

“Doctors or providers will think a patient is malingering or somehow exaggerating their symptoms,” said Andrea Armstrong,
a law professor at Loyola University in New Orleans who has been documenting and researching deaths in Louisiana
prisons.
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  At Huttonsville Correctional Center in West Virginia, Robbie Campbell had been complaining of severe constipation and rectal bleeding since the beginning of
  2016, but he was taken to the hospital only in June 2017 after he passed out from a loss of blood. Kristian Thacker for The New York Times



Correctional facilities have a hard time attracting nurses and doctors — a problem exacerbated during the pandemic, when it
was also difficult to transport people to appointments outside the prison, and when fears of contracting Covid led to
absenteeism among prison staff.

Some patients who died in 2020 had seen their health decline for years.

At Huttonsville Correctional Center in West Virginia, Robbie Campbell had been complaining of severe constipation and
rectal bleeding since the beginning of 2016, according to medical records contained in a lawsuit. Mr. Campbell, a former coal
miner who pleaded guilty to murder in 2010, had submitted multiple requests for medical care, but he was taken to the
hospital only in June 2017 after he passed out from a loss of blood. He was diagnosed with colon cancer and died in 2020.

Mark Trammell, who was incarcerated in Lieber Correctional Institute in South Carolina, caught Covid-19 while being treated
for liver cancer, after going years before receiving treatment for hepatitis C that he had contracted in prison, according to
state records and his family and friends. He died in June 2020 after serving more than 40 years for voluntary manslaughter.


Not Enough Workers
For years, prisons throughout the country were seen as a boon in rural areas, where they were major employers. But towns
that once served as recruiting grounds for correctional officers have been gutted by population declines, and prison jobs —
with their low wages and potential dangers — have become less of a draw.

In South Carolina, the prison system has long contended with understaffing — as much as 50 percent below the required
levels, according to a 2018 report by the state Corrections Department.
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“That’s the root cause of pretty much every prison problem,” said Hayden Smith, a criminal justice professor at the
University of South Carolina. The state has had recurringly high mortality rates in its prisons, including in 2020.




   Mark Trammell, right, who was incarcerated in Lieber Correctional Institution in South Carolina, caught Covid-19 while being treated for liver cancer, after going
   years before receiving treatment for hepatitis C that he had contracted in prison, according to state records and his family and friends. Sean Rayford for The New
   York Times




Ms. Shain, the corrections spokeswoman, agreed that the state, like many others, had staffing struggles. She said its prisons
had provided “historic raises for security staff” in 2022 and more in 2023 and had since seen improvements in staffing.

Some states, like Florida and West Virginia, have called in the National Guard to augment understaffed facilities.

The lack of personnel means that violence can go unchecked, and that inmates at risk of suicide can be left without adequate
supervision.

Even before the pandemic, prisons were increasingly relying on lockdowns and solitary confinement to control their
populations, tactics that in turn restricted physical and mental health care.

“You have people just locked up alone for months,” Mr. Smith said. “If they didn’t have a mental health condition to start
with, they certainly do by the end of that.”

Jennifer Valentino-DeVries is a reporter on the investigative team, where she specializes in using data to shed light on complex issues. In 2021, she was part of a
team that won the Pulitzer Prize in national reporting, for coverage of systemic failures in American policing that lead to avoidable deaths. More about Jennifer
Valentino-DeVries

A version of this article appears in print on , Section A, Page 1 of the New York edition with the headline: As Covid-19 Gripped U.S., Death Swept Through Prison System
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